
St. Locher Medical, P.C., as Assignee of Galen Smith, Appellant, 
againstIDS Property Casualty Ins. Co., Respondent.




Kopelevich &amp; Feldsherova, P.C. (Galina Feldsherova, Esq.), for appellant.
Bruno, Gerbino &amp; Soriano, LLP (Mitchell L. Kaufman, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Robin Kelly Sheares, J.), entered October 28, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
For the reasons stated in St. Locher Med., P.C., as Assignee of Galen Smith v IDS Prop. Cas. Ins. Co. (___ Misc 3d ___, 2017 NY Slip Op _____ [appeal No. 2015-8 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 08, 2017










